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                               UNITED STATES COURT OF APPEALS
                                    FOR THE FIRST CIRCUIT
                                 John Joseph Moakley U.S. Courthouse
                                    1 Courthouse Way, Suite 2500
                                          Boston, MA 02210
                                            (617) 748-9057
                                        www.ca1.uscourts.gov

                            DOCKETING STATEMENT INSTRUCTIONS

      1.    Counsel for appellant must file a docketing statement for every case appealed or
            cross appealed to the First Circuit Court of Appeals. The docketing statement must be
            received by the court of appeals clerk's office within fourteen days after the case is
            docketed to be deemed timely filed. Copies must be served on all parties to the action
            below and proof of service must be attached.

      2.    The attorney filing the notice of appeal is responsible for filing the docketing statement, even
            if different counsel will handle the appeal. In the case of multiple appellants represented by
            separate counsel, the parties must confer and decide who will file the docketing
            statement. Appellants proceeding pro se may file a docketing statement, but are not
            required to do so.

      3.    Counsel's failure to file the docketing statement within the time set forth will cause the court
            to initiate the process for dismissal of the appeal under 1st Cir. R. 3.0.

      4.    If an opposing party concludes that the docketing statement is in any way inaccurate,
            incomplete or misleading, that party should file any additions or corrections to the docketing
            statement within fourteen days of service of the docketing statement, with copies to all other
            parties.

      5.    You must attach to the docketing statement:

                   •       Additional pages containing extended answers to questions on this form.

                   •       A certificate of service for this docketing statement indicating it has been
                           served on all parties to the action below, if required by Fed. R. App. P.
                           25(d)(B).
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                      United States Court of Appeals
                                       For the First Circuit
                                           ____________________

                                        DOCKETING STATEMENT

       No. 24-1590                   Short Title: Crosspoint Church v. Makin


      Type of Action

          ✔      Civil
                 Criminal/Prisoner
                 Cross Appeal

      A. Timeliness of Appeal
         1. Date of entry of judgment or order appealed from_________________________________
                                                                 06/05/2024
         2. Date this notice of appeal filed________________________________________________
                                              06/21/2024
            If cross appeal, date first notice of appeal filed___________________________________
         3. Filing date of any post-judgment motion filed by any party which tolls time under Fed. R.
            App. P. 4(a)(4) or 4(b)______________________________________________________
         4. Date of entry of order deciding above post-judgment motion________________________
         5. Filing date of any motion to extend time under Fed. R. App. P. 4(a)(5), 4(a)(6) or
            4(b)_____________________________________________________________________
            Time extended to__________________________________________________________

      B. Finality of Order or Judgment
         1. Is the order or judgment appealed from a final decision on the merits? ✔ Yes             No
         2. If no,
            a. Did the district court order entry of judgment as to fewer than all claims or all parties
                 pursuant to Fed. R. C. P. 54(b)?     Yes         No
                 If yes, explain__________________________________________________________
            b. Is the order appealed from a collateral or interlocutory order reviewable under any
                 exception to the finality rule?   Yes          No
                 If yes, explain__________________________________________________________

      C. Has this case previously been appealed? Yes  ✔ No

         If yes, give the case name, docket number and disposition of each prior appeal
         ___________________________________________________________________________

      D. Are any related cases or cases raising related issues pending in this court, any district court of
         this circuit, or the Supreme Court? ✔ Yes             No
         If yes, cite the case and manner in which it is related on a separate page. If abeyance or
         consolidation is warranted, counsel must file a separate motion seeking such relief.
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      E. Were there any in-court proceedings below?                          Yes          ✔   No
         If yes, is a transcript necessary for this appeal?                  Yes              No
         If yes, is transcript already on file with district court?          Yes              No

      F. List each adverse party to the appeal. If no attorney, give address and telephone number of the
         adverse party. Attach additional page if necessary.

         1. Adverse party_____________________________________________________________
                         A. PENDER MAKIN, in her official capacity as Commissioner of the Maine Department of Education
            Attorney_________________________________________________________________
                    Christopher C. Taub
            Address__________________________________________________________________
                    ME Attorney General's Office 6 State House Station Augusta, ME 04333
            Telephone________________________________________________________________
                      207-626-8565

         2. Adverse party_____________________________________________________________
                         JEFFERSON ASHBY, in his official capacity as Commissioner of the Maine Human Rights Commission
            Attorney_________________________________________________________________
                     (same as above)
            Address__________________________________________________________________
            Telephone________________________________________________________________

         3. Adverse party_____________________________________________________________
                         EDWARD DAVID, in his official capacity as Commissioner of the Maine Human Rights Commission
            Attorney_________________________________________________________________
                     (same as above)
            Address__________________________________________________________________
            Telephone________________________________________________________________

      G. List name(s) and address(es) of appellant(s) who filed this notice of appeal and appellant's
         counsel. Attach additional page if necessary.

         1. Appellant's name___________________________________________________________
                             Crosspoint Church
            Address__________________________________________________________________
                    1476 Broadway, Bangor ME 04401
            Telephone________________________________________________________________
                       207-947-6576

             Attorney's name___________________________________________________________
                             Patrick Strawbridge
             Firm_____________________________________________________________________
                  Consovoy McCarthy PLLC
             Address__________________________________________________________________
                      10 Post Office Sq. 8th Flr S PMB #706 Boston, MA 02109
             Telephone________________________________________________________________
                        617-227-0548

         2. Appellant's name___________________________________________________________
            Address__________________________________________________________________
            Telephone________________________________________________________________

             Attorney's name___________________________________________________________
             Firm_____________________________________________________________________
             Address__________________________________________________________________
             Telephone________________________________________________________________

          Will you be handling the appeal? (In criminal cases counsel below will handle the appeal unless
      relieved by this court.) ✔ Yes            No
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          Fed. R. App. P. 12(b) provides that each attorney who files a notice of appeal must file with the
      clerk of the court of appeals a statement naming each party represented on appeal by that attorney.
      1st Cir. R. 12.0 requires that statement in the form of an appearance.


                       /s/ Patrick Strawbridge
             Signature______________________________
                  07/01/24
             Date__________________________________
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      D. Related cases/cases raising related issues pending in this court, any
      district court of this circuit, or the Supreme Court:

      St. Dominic Academy v. Makin, No. 2:23-cv-00246-JAW (D. Me.)



      F. List of adverse parties to the appeal (cont’d):

      4. Adverse party: JULIE ANN O'BRIEN, in her official capacity as Commissioner of
      the Maine Human Rights Commission
         Attorney: (same)

      5. Adverse party: MARK WALKER, in his official capacity as Commissioner of the
      Maine Human Rights Commission
         Attorney: (same)

      6. Adverse party: THOMAS L. DOUGLAS, in his official capacity as Commissioner
      of the Maine Human Rights Commission
         Attorney: (same)
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                                CERTIFICATE OF SERVICE
            I ﬁled this docketing statement on the Court’s electronic ﬁling system, which will

      email everyone requiring notice.

      Dated: July 1, 2024                             /s/ Patrick Strawbridge
